                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:

GARY M. MICIK                                                    Case No. 19-43277-TJT
TONI M. MICIK,                                                   Honorable THOMAS J. TUCKER
                                                                 Chapter 13
           Debtors.

7221 Copper Creek Drive
Ypsilanti, MI 48197
XXX-XX-2576
XXX-XX-2050
_____________________________________/

                 OBJECTIONS TO CONFIRMATION OF PROPOSED CHAPTER 13 PLAN
                      ON BEHALF OF FORD MOTOR CREDIT COMPANY LLC

           Creditor Ford Motor Credit Company LLC (“Objector”) by and through counsel, KILPATRICK &

ASSOCIATES, P.C., states:

    1. The Debtors (“Debtor” as used herein shall include both Debtors in a joint case) filed a voluntary

           Chapter 13 petition on March 7, 2019.

    2. On the Petition Date the Debtor was indebted to Objector in the amount of $4,196.50 (plus interest, fees

           and costs) and in possession of the following: 2014 Ford Focus (VIN: 1FADP3K23EL246243) (Acct.

           No.: 9166) (the “Vehicle”).

    3. The Vehicle listed in Paragraph 2 was purchased on a Retail Installment Sale Contract (the “Contract”).

    4. The Proposed Plan cannot be confirmed for the following reasons:

           a)      The Proposed Plan fails to pay the present value of the Vehicle as required by 11 U.S.C. §

1325(a)(5)(B)(ii) because:

                 i. The Proposed Plan states an incorrect value for the Vehicle. The approximate value of the

                   Vehicle is $8,550.00 based on the NADA Official Used Car Guide.

                ii. The Proposed Plan provides for a rate of interest which is less than that required by 11 U.S.C. §

                   11 U.S.C. § 1325(a)(5).

           b)      The Proposed Plan fails to comply with 11 U.S.C. §1325(a)(5)(B)(iii) for the following

reasons:



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               i. Creditor objects to paragraph relating to the reservation of attorney fees contained in the

                 proposed Chapter 13 Proposed Plan as this provision may impact Objector’s right to receive

                 equal monthly payments as required by 11 U.S.C.1325(a)(5)(B)(iii) and may also unnecessarily

                 delay payments to the Objector.

        c)       The Objector is not adequately protected pursuant to 11 U.S.C. §1326 as:

               i. The Debtor has failed to demonstrate the Vehicle is insured pursuant to 11 U.S.C. §1326(a)(4).

WHEREFORE, Ford Motor Credit Company LLC requests the Court to deny confirmation of the Proposed

Plan, and to grant such other relief as may be appropriate and just.




                                                    Respectfully submitted,
                                                    KILPATRICK & ASSOCIATES, P.C.


                                                    By: /s/ MICHAEL T. BROWN
                                                    RICHARDO I. KILPATRICK, ESQ. (P35275)
                                                    MICHAEL T. BROWN, ESQ. (P71385)
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Dated: March 26, 2019                               (248) 377-0700




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